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                          IN THE UNITED STATES COURT OF APPEALS
                                  FOR THE NINTH CIRCUIT


                                      UNITED STATES OF AMERICA,

                                            Plaintiff-Appellee,

                                                     v.

                            TIMOFEY BABICHENKO, PAVEL BABICHENKO,
                  MIKHAIL IYERUSALIMETS, PIOTR BABICHENKO, AND DAVID BIBIKOV,

                                        Defendants-Appellants.

                           On Appeal from the United States District Court
                                  for the District of Idaho, Boise
                                        No. 18-CR-258-BLW
                                       Hon. B. Lynn Winmill


                          APPELLANTS’ JOINT EXCERPTS OF RECORD

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